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                                 UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
                                                               Case No. 20CR2993-LAB

                                            Plaintiff,
                         vs.
                                                               JUDGMENT OF DISMISSAL
MANUEL MINJAREZ-URIBE (2),


                                         Defendant.



IT APPEARING that the defendant is now entitled to be discharged for the reason that:

      an indictment has been filed in another case against the defendant and the Court has
☐
      granted the motion of the Government for dismissal of this case, without prejudice; or
☐     the Court has dismissed the case for unnecessary delay; or

☒     the Court has granted the motion of the Government for dismissal, without prejudice; or

☐     the Court has granted the motion of the defendant for a judgment of acquittal; or

☐     a jury has been waived, and the Court has found the defendant not guilty; or

☐     the jury has returned its verdict, finding the defendant not guilty;

☒     of the offense(s) as charged in the Indictment/Information:
      8:1326(a), (b) ‐ Attempted Reentry of Removed Alien (Felony)




Dated: 11/4/2020
                                                         Hon. Larry Alan Burns
                                                         Chief United States District Judge
